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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 UNITED STATES OF AMERICA                    )
                                             )   No. 19 CR 556
              v.                             )
                                             )   Honorable John Robert Blakey
 MICHAEL FRONTIER                            )


                             JOINT STATUS REPORT

      The parties jointly submit the following status report:

      The government has produced substantial discovery. Certain discovery

requests by the defense are pending with the government, and defendant is

continuing to reviewing discovery and continuing his investigation. The parties agree

to continue the case for 60 days for a status hearing or the filing of another joint

status report. There is no objection to the exclusion of time in the interests of justice

until the next status hearing or the filing of another joint status report.



Dated:       July 31, 2020               Respectfully submitted,

                                         JOHN R. LAUSCH, JR.
                                         United States Attorney

                                  By:    /s/ Devlin N. Su
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                                  MICHAEL FRONTIER

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